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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                    Plaintiff,

       v.                            //          CRIMINAL NO. 1:12CR1
                                                     (Judge Keeley)

  HARVEY BREWER and
  TASHA SHELEKA SAUNDERS,

                    Defendants.


                 MEMORANDUM OPINION AND ORDER DENYING
       DEFENDANTS’ MOTIONS FOR A NEW TRIAL [DKT. NOS. 100, 102]

       Pending before the Court are the motions of the defendants,

  Harvey Brewer (“Brewer”) and Tasha Sheleka Saunders (“Saunders”),

  for a new trial (dkt. nos. 100, 102). For the reasons that follow,

  the Court DENIES the motions.

                                       I.

                                       A.

       On January 4, 2012, the Grand Jury indicted Brewer on one

  count of escaping from the custody of the satellite camp of Federal

  Correctional Institution Gilmer in violation of 18 U.S.C. § 751(a).

  The Grand Jury also indicted Saunders, Brewer’s co-defendant, on

  one count of aiding and abetting escape in violation of 18 U.S.C.

  §§ 751(a) and 2. On March 22, 2012, subsequent to a joint three-day

  trial, a petit jury convicted both defendants on the sole count of

  the Indictment.
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       Brewer contends that he is entitled to a new trial under Fed.

  R. Crim P. 33 because a juror, Jonna Spatafore (“Juror Spatafore”),

  failed   to   provide   an   honest   response   to   one   of   the   Court’s

  questions during voir dire. (Dkt. No. 100). Saunders subsequently

  filed a brief motion “adopt[ing] by reference . . . the statement

  of facts and legal argument” made in support of Brewer’s motion.

  (Dkt. No. 102).1

                                        B.

       During jury selection, the Court asked the panel whether “any

  of you, yourselves, have ever been law enforcement officers or are

  related to individuals who either currently are or previously have

  been law enforcement officers in any capacity anywhere, not just

  here in West Virginia?” (Dkt. No. 88 at 40). At that time, Juror

  Spatafore did not disclose that her father, who died when she was

  sixteen, had been a Maryland State Police Officer prior to her

  birth. Id. at 205-206. Juror Spatafore revealed this information to

  the Court on March 22, 2012, during an individual voir dire

  conducted pursuant to an unrelated motion for a mistrial. In the




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    The Court notes that Saunders, without explanation, filed this motion
  on July 31, 2012, one day after the July 30, 2012 deadline for post-trial
  motions set by the Court. (Dkt. No. 83).

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  context     of    the    Court’s     inquiry     regarding     intra-juror

  communications, Juror Spatafore explained:

        I mean we were talking about when the jury selection was
        done – . . . - and how that - because I said - when you
        were asking all the questions we had to answer or no to
        [sic] . . . - I said my father was a Maryland State
        Policeman. He died when I was 16. I didn’t feel that was
        - he was that before I was ever around; I didn’t feel
        that was relevant so I would not – I didn’t raise my hand
        because, you know, and we were talking about how you kind
        of probably should associate relevance to yourself. To
        me, when you ask if anybody in your family was a
        policeman or anything like that and I said, you know, I
        didn’t raise my hand because my father died when I was
        16. He was a state policeman before I was born, you know,
        so to me that – we were talking about that.

  Id.

        Following this disclosure, the Court asked the defendants if

  they wished to ask Juror Spatafore any follow up questions, and

  they declined. Id. at 207. Upon the conclusion of the individual

  voir dire questioning for the remaining jurors, the Court asked the

  defendants a second time whether they wished to inquire further of

  any juror. Id. at 227. Again, both defendants declined. Id. Neither

  defendant lodged any objection to Juror Spatafore’s service prior

  to filing the pending motions for a new trial.

                                      II.

        Pursuant to Fed. R. Crim P. 33(a), the Court “may vacate any

  judgment and grant a new trial if the interest of justice so


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  requires.” The decision to grant a new trial is entrusted to the

  sound discretion of the trial court, United States v. Perry, 335

  F.3d 316, 320 (4th Cir. 2003), and it “should exercise [this]

  discretion . . .       sparingly.” United States v. Chong Lam, 677 F.3d

  190, 203 (4th Cir. 2012) (internal quotation marks and citations

  omitted).

       The     Sixth     Amendment     provides    that    “[i]n   all    criminal

  prosecutions, the accused shall enjoy the right to a speedy and

  public trial, by an impartial jury.” U.S. Const. amend. VI.

  Accordingly, a criminal defendant is entitled to “an impartial

  trier of fact — a jury capable and willing to decide the case

  solely on the evidence before it.” Conaway v. Polk, 453 F.3d 567,

  582-83 (4th Cir. 2006) (internal quotation marks and citations

  omitted). In order to protect that right, a district court “must

  conduct     voir     dire   in   a   manner     that    adequately     identifies

  unqualified or potentially biased jurors.” Gardner v. Ozmint, 511

  F.3d 420, 424 (4th Cir. 2007) (citing Morgan v. Illinois, 504 U.S.

  719, 729-34 (1992)).

       A defendant seeking a new trial on the basis of alleged juror

  dishonesty during voir dire “‘must first demonstrate that a juror

  failed to answer honestly a material question . . . and then

  further show that a correct response would have provided a valid

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  basis for a challenge for cause.’” Gardner, 511 F.3d at 424

  (quoting McDonough Power Equip., Inc. v. Greenwood, 464 U.S. 548,

  556 (1984)). A defendant must also show that “the juror’s ‘motives

  for concealing information’ or the ‘reasons that affect [the]

  juror’s impartiality can truly be said to affect the fairness of

  [the] trial.’” Conaway, 453 F.3d at 558 (alterations in original)

  (quoting McDonough, 464 U.S. at 556); see also United States v.

  Blackwell, 436 F. App’x 192, 196 (4th Cir. 2011); McNeill v. Polk,

  476 F.3d 206, 224 n.8 (4th Cir. 2007) (King, J., concurring in

  part).   The   McDonough    “test    applies    ‘equally    to   deliberate

  concealment and . . . innocent non-disclosure.’” Gardner, 511 F.3d

  at 424 (quoting Conner v. Polk, 407 F.3d 198, 205 (4th Cir. 2005)).

                                      III.

                                       A.

       As a threshold matter, the Government contends that the

  defendants’ motions should be denied because they were aware of

  Juror Spatafore’s alleged misconduct prior to the jury reaching a

  verdict in this case and nevertheless failed to timely raise the

  issue with the Court. This failure to object, the Government

  argues, waives the right to argue for a new trial on the basis of

  Juror Spatafore’s partiality.



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       It   is   undisputed    that   all    parties   to   this   proceeding,

  including the Court, became aware of Juror Spatafore’s inadvertent

  nondisclosure during the individual voir dire conducted on March

  22, 2012, prior to the start of jury deliberations. At that time,

  neither defendant took any issue with Juror Spatafore’s revelation,

  much less raised the very serious constitutional arguments that are

  currently pending before the Court. Given that Juror Spatafore

  disclosed this information prior to deliberations and while an

  alternate juror remained in service, the Court could have taken a

  number    of   curative     actions       if   an    objection    had   been

  contemporaneously raised.

       “Like all constitutional rights, the right to challenge the

  partiality of a jury verdict based on a juror’s alleged misconduct

  during voir dire may be waived.” United States v. Daugerdas ---

  F.Supp.2d ----, 2012 WL 2149238, *29 (S.D.N.Y. 2012) (collecting

  cases). Otherwise, defendants could “sandbag the court by remaining

  silent and gambling on a favorable verdict, knowing that if the

  verdict went against them, they could always obtain a new trial by

  later raising the issue of juror misconduct.” United States v.

  Desir, 273 F.3d 39, 43 (1st Cir. 2001); see also United States v.

  Nance, 502 F.2d 615, 621 (8th Cir. 1974) (“[a] party may not stand

  idly by, watching the proceedings and allowing the Court to commit

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  error of which he subsequently complains” (internal quotation marks

  and citations omitted)).

        Similarly, the United States Court of Appeals for the Fourth

  Circuit has found that a defendant waives his right to a new trial

  if he knows of alleged juror misconduct prior to the verdict but

  remains silent. United States v. Breit, 712 F.2d 81, 84 (4th Cir.

  1983) (“A defendant who remains silent about known juror misconduct

  -   who,   in   effect,   takes    out   an   insurance    policy    against   an

  unfavorable     verdict   -   is   toying     with   the   court.”    (citation

  omitted)); see also Gray v. Hutto, 648 F.2d 210, 212 (4th Cir.

  1981) (refusing to permit new trial where counsel deliberately

  withheld juror misconduct in a “conscious decision” to find out

  what the jury was going to do). It is the government’s burden to

  prove by a preponderance of the evidence that the defendant knew

  about the alleged misconduct prior to the verdict. Breit, 712 F.2d

  at 83.

        Here, there is no doubt that the defendants were aware of the

  alleged juror misconduct giving rise to their claims prior to the

  verdict in this case. The defendants did not include an explanation

  for their delay in their motions, nor did they respond to the

  Government’s brief. Preliminarily, then, the Court agrees with the

  Government that the defendants have likely waived this claim.

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  Inasmuch as the Court is operating under the wide discretionary

  rubric of Fed. R. Crim. P. 33, however, it finds it prudent to

  substantively analyze the defendants’ constitutional claim in order

  to determine whether a new trial is “in the interest of justice.”

  Fed. R. Crim. P. 33; see also United States v. Jennings, 438

  F.Supp.2d 637, 642 (E.D. Va. 2006) (Rule 33 “discretion should be

  exercised where it is demonstrated that the fundamental fairness or

  integrity of the trial result is substantially in doubt.”).

                                        B.

       Turning to the defendants’ substantive claims, the Government

  concedes that Brewer and Saunders can satisfy the first prong of

  the McDonough test. Although Juror Spatafore erroneously believed

  that her deceased father’s former employment was irrelevant and

  omitted   this   information    unintentionally,         she   did   “fail[]   to

  answer”   a   “material   question”       during   the   initial     voir   dire.

  McDonough, 464 U.S. at 556. Inasmuch as the McDonough analysis

  covers “innocent non-disclosure,” Gardner, 511 F.3d at 424, and in

  light of the Government’s concession, the Court will assume for the

  purposes of this analysis that the first part of the McDonough test

  is satisfied.




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          The second part of the McDonough test requires the Court to

  consider whether a correct response from Juror Spatafore would have

  provided a valid basis for a challenge for cause. 464 U.S. at 556.

  A McDonough claim “necessarily fails unless the court would have

  committed reversible error - that is, abused its discretion - in

  failing to dismiss [the juror] for cause.” United States v. Fulks,

  454 F.3d 410, 432 (4th Cir. 2006) (citation omitted). A court

  abuses its discretion in failing to dismiss prospective jurors for

  cause    in       “only   two    situations:      (1)   where    a    per    se   rule   of

  disqualification applies; [or] (2) where the court demonstrates a

  ‘clear disregard for the actual bias of the juror.’” Id. (quoting

  United States v. Turner, 389 F.3d 111, 115 (4th Cir. 2004)); see

  also Blackwell, 436 F. App’x at 196.

          As    a    general      rule,   a   district    court        has    “‘very   broad

  discretion in deciding whether to excuse a juror for cause.’”

  Turner, 389 F.3d at 115 (quoting Poynter by Poynter v. Ratcliff,

  874 F.2d 219, 222 (4th Cir. 1989)). Per se disqualification rules

  are “exceptional” and have been adopted “only to disqualify jurors

  whose circumstances, such as a financial interest in the trial’s

  outcome, show a clear likelihood of prejudice.” Ratcliff, 874 F.2d

  at   222.     The     Fourth     Circuit    has    adopted      no    per    se   rule   of

  disqualification for prospective jurors who have consanguineal

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  relationships with employees of law enforcement agencies. Cf.

  United States v. LaRouche, 896 F.2d 815, 830 (4th Cir. 1990)

  (citing with approval cases “refus[ing] to establish a per se rule

  excluding     any   person   who   has     had   an   association   with   an

  investigatory agency”).

        As no per se disqualification rule is applicable here, the

  Court looks to whether, had Juror Spatafore fully and accurately

  responded to the Court’s voir            dire, her answer “‘would have

  provided a valid basis for a challenge for cause,’ under the

  applicable federal constitutional principles.” Conaway, 453 F.3d at

  586 (quoting McDonough, 464 U.S. at 556). As a general rule, “a

  challenge for cause is granted only in the case of actual bias or

  implied bias.” Jones v. Cooper, 311 F.3d 306, 313 (4th Cir. 2002)

  (citation omitted); see also United States v. Wood, 299 U.S. 123,

  133 (1936) (“bias . . . may be actual or implied; that is, it may

  be bias in fact or bias conclusively presumed as matter of law”).

  “Implied bias” is a limited concept, and arises only in “extreme

  situations” in which it is “highly unlikely that the average person

  could remain impartial in his deliberations.” Person v. Miller, 854

  F.2d 656, 664 (4th Cir. 1988).

        The full extent of the defendants’ argument in this regard is

  as follows:

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        Defendant believes that Ms. Spatafore was not impartial:
        she failed to answer a question honestly because she did
        not think that her response was ‘relevant,’ and the
        honest answer to a question about her relationship with
        individuals in law enforcement would have resulted in her
        removal from the venire pool for cause. The omission of
        this information resulted in an unfair trial for
        Defendant, and the Court should grant Defendant a new
        trial with an impartial jury as required by the
        Constitution.

  (Dkt. No. 100 at 3). As the Government points out, however, five

  prospective jurors in this case indicated during voir dire that

  they had relatives serving in law enforcement, and the Court did

  not automatically strike any of them for cause. See generally

  United States v. Capers, 61 F.3d 1100, 1105 (4th Cir. 1995)

  (relevant inquiry in challenge for cause is whether the juror can

  “be fair and impartial and decide the case on the facts and law

  presented”). Instead, the Court asked those veniremen individual

  follow-up questions concerning their fairness and impartiality –

  questions, the Court notes, substantially similar to the group

  questions repeatedly affirmed by Juror Spatafore. See, e.g., (Dkt.

  No. 88 at 65-71, 74, 84-85, 101-102, 201-202).

        Here, the defendants have failed to demonstrate the existence

  of any actual bias. Moreover, the mere fact that Juror Spatafore

  once had a family member in law enforcement is plainly not one of

  the “extreme situation[s]” in which bias may be implied. Person,


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  854    F.2d     at     664.      The    defendants’        conclusory      arguments

  notwithstanding, the Court finds that Juror Spatafore’s disclosure

  of the law enforcement position her father had held before her

  birth would not, standing alone, have “provided a valid basis for

  a challenge for cause” in this case. McDonough, 464 U.S. at 556;

  see also United States v. Fulks, 2004 WL 5042206, at *5 (D.S.C.

  Dec. 23, 2004), aff’d, 454 F.3d at 427; Jones, 311 F.3d at 313 (no

  relief   under       McDonough    where      “even    truthful     answers    to    the

  questions on the questionnaire could not have formed the basis for

  a   challenge    for    cause”).       As   such,    the   Court   finds     that   the

  defendants cannot satisfy the second prong of McDonough,2 and are

  thus not entitled to a new trial.




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        The Court recognizes that the McDonough test “is not the exclusive
  test for determining whether a new trial is warranted” in the context of
  alleged juror partiality. Jones, 311 F.3d at 310; see also United States
  v. Lecco, 634 F.Supp.2d 633, 658 (S.D. W. Va. 2009) (“‘Failure to satisfy
  the requirements of McDonough does not end the court’s inquiry, however,
  when the petitioner also asserts a general Sixth Amendment claim
  challenging the partiality of a juror based upon additional circumstances
  occurring outside the voir dire.’” (quoting Fitzgerald v. Greene, 150
  F.3d 357, 362-63 (4th Cir. 1998)). Under a general Sixth Amendment
  analysis, “regardless of whether the juror was truthful or deceitful,”
  a showing of actual or implied bias “can also entitle a defendant to a
  new trial.” Jones, 311 F.3d at 310. Here, however, the defendants did not
  make a general Sixth Amendment claim, and the Court’s analysis can end
  with McDonough. In any event, as discussed above, they cannot plausibly
  establish the existence of actual or implied bias.

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                                       IV.

        For the reasons discussed, the Court DENIES the defendants’

  motions for a new trial (dkt. nos. 100, 102).

        It is so ORDERED.

        The Court DIRECTS the Clerk to transmit copies of this Order

  to counsel of record.

        DATED: October 5, 2012.


                                      /s/ Irene M. Keeley
                                      IRENE M. KEELEY
                                      UNITED STATES DISTRICT JUDGE




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